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                EXHIBIT A
                EXHIBIT A
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 March 12, 2007


Transworld Television Corporation
Concorde Building
Dinan Street, Ras Beirut
Beirut, Lebanon
Attn: Mr. Issam Hamaoui


Re:      Transworld Television Corporation ("Agent") -w- World Wrestling
         Entertainment, Inc. ("WWE") / Agency Agreement ("Agreement")


Dear Mr. Hamaoui:

This Agreement is entered into by and between Agent and WWE (individually referred to as "Party"
and collectively referred to as the "Parties") as of the date set forth above. For good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereby
agree as follows:
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           (f)    Governing Law; Jurisdiction:

                                   (i)     Governing Law:        This Agreement has been made in
 Connecticut. All disputes, claims or legal actions arising directly or indirectly out of this Agreement
 or relating in any way to the subject matter of this Agreement or the parties' relationship, whether
 sounding in contract, tort or otherwise, shall be governed by the laws of the State of Connecticut,
 exclusive of the Connecticut laws relating to the conflicts of laws. The provisions contained in this
 Section 14 (f) shall survive the termination and/or expiration of this Agreement.

                                 (ii)    Forum Selection and Jurisdiction: The United States
District Court for District of Connecticut and the Judicial District Court of Stamford, Connecticut
are the exclusive forums in which a party may bring any dispute, claim or legal action arising
directly or indirectly out of this Agreement or in any way related to the subject matter of this
Agreement or the parties' relationship, whether sounding in contract, tort or otherwise. This
provision to submit all disputes, claims or legal actions to the Federal or State courts in Connecticut
shall be specifically enforceable; each party knowingly waives personal service of process and
venue; and each party consents to jurisdiction in Connecticut and waives any defense of forum
nonconveniens or similar defense to such forum. The provisions contained in this paragraph shall
survive the termination and/or expiration of this Agreement.

          (g)    Severability: In the event that any part, provision or portion of any provision of
this Agreement shall be declared invalid or unenforceable for any reason by a court of competent
jurisdiction, such provision or portion thereof shall be considered separate and apart from the
remainder of this Agreement, which shall remain in full force and effect.

          (h)    Complete Agreement: Agent and Company acknowledge that this Agreement
constitutes the entire understanding of Agent and Company and replaces and supercedes as of the
date of execution any and all prior agreements and understandings, whether oral or written, between
the Agent and Company. No change, modification, waiver or discharge of any or all of the terms
and provisions of this Agreement shall be effective unless made in writing and executed by both
Agent and Company.

           (i)    Specific Performance: Agent agrees that irreparable injury, for which an adequate
remedy at law does not exist, will occur to WWE if any of the provisions of this Agreement are not
performed by Agent in accordance with their specific terms, Accordingly, Agent agrees that WWE
will be entitled to an injunction or injunctions to prevent any breach or threatened breach of this
Agreement and to enforce specifically the terms and provisions hereof in those courts having
jurisdiction pursuant to the terms herein. Notwithstanding anything herein to the contrary, WWE
reserves any and all rights and remedies both in law or in equity which it may be entitled as a result
of any breach of this Agreement.
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IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date first
above written.


TRANSWORLD TELEVISION                   WORLD WRESTLING ENTERTAINMENT,
CORPORATION                             INC.
("Agent")                                ("WWE")


By:

Print Name:                             Print Name:

It                                      Its:

Date:     galtiMinn                     Date:
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            °RPORP01°'
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   March 15, 2010


   Transworld Television Corporation
   Concorde Building
   Dinan Street, Ras Beirut
   Beirut, Lebanon

   Attn: Issam Hamaoui

   Re:    First Amendment to the Agency Agreement between World Wrestling
          Entertainment, Inc. ("WWE"), Transworld Television Corporation
          ("Agent")

   Dear Mr. Hamaoui:

   Reference is made to that a certain Agency Agreement between WWE and Agent,
   effective as of March 12, 2007 (the "Agreement"), which is in full force and effect as of
   the date hereof. For good and valuable consideration, the receipt and sufficiency of which
   are hereby acknowledged, the parties have agreed to amend the Agreement as follows
   ("First Amendment"):
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   4.       All terms not defined herein shall have the same meaning given them in the
   Agreement. Except as expressly or by necessary implication modified hereby, the terms
   and conditions of the Agreement are hereby ratified and confirmed without limitation or
   exception.


   Please confirm acceptance of this First Amendment as set forth in the space provided
   below on behalf of Licensee and return it to me for countersignature. One (1) fully-
   executed copy will be returned for your files.



                                       WORLD WRESTLING ENTERTAINMENT, INC.


                                        By:   -14-1-
                                        ANDREW WHITAKER

                                        Date:    4V-1
   ACKNOWLEDGED AND AGREED:

   TRANSWORLD TELEVISION CORPORATION
   ("Agent")


   By:

   Print Name:

   Date:




                   First Amendment - Agency Agreement (ELLA COMM) March 17 2010 Original
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  As of April 18, 2014

  Transworld Television Corporation
  Concorde Building
  Dinan Street, Ras Beirut
  Beirut, Lebanon

  Attn: Issam Hamaoui

  Re:     Second Amendment to the Agency Agreement between World Wrestling
          Entertainment, Inc. ("WWE") and Transworld Television Corporation
          ("Agent")

  Dear Mr. Hamaoui:

  Reference is made to that certain Agency Agreement between WWE and Agent, dated as
  of March 12, 2007 and the Amendment dated as of March 15, 2010 between the parties
  (collectively, the "Agreement"), which is in full force and effect as of the date hereof. For
  good and valuable consideration, the receipt and sufficiency of which are hereby
  acknowledged, the parties have agreed to amend the Agreement as follows ("Second
  Amendment"):
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  5. All terms not defined herein shall have the same meaning given them in the Agreement.
  Except as expressly or by necessary implication modified hereby, the terms and conditions
  of the Agreement are hereby ratified and confirmed without limitation or exception.

  Please confirm acceptance of this Second Amendment as set forth in the space provided
  below on behalf of Licensee and return it to me for countersignature. One (1) fully-
  executed copy will be returned for your files.



                                  WORLD WRESTLING ENTERTAINMENT, INC.




                                   Date:



 ACKNOWLEDGED AND AGREED:

 TRANSWORLD T LEVISION CORPORATION
 ("Agent")

 By:

 Print Name:

 Date:


                 IRAN SWORLD TELEVISION
                       CORRATION
                         PO
